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RALPH TAYLOR,                                                                                                  U.S. COURTOF
                                                                                                               reoenRlcunM!
          Plaintiff, pro                se,




THE TNITED STATES,

          Defendant.


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Ralph W. Taylor, Terre Haute, Indiana, Plaintiff , pro                                                   se.

Kenneth D, Woodrow, United States Department of Justice, Civil Division, Washington, D.C.,
Counsel for the Government.

                                        MEMORANDUM OPINION AND FINAL ORDER

BRADEN,Judge.

I.        RELEVANT FACTUAL BACKGROUND AND PROCEDURAL HISTORY,'

      On October 6,2011, Plaintiff sent a "Request For Statement Of Account" to certain
"Respondents," including the United States Secretary of Treasury. Compl. l0-l 1 (Ex. 1). The
Complaint and the October 6,2011 Request reference an Order issued by the United States




         'The relevant facts discussed herein were derived from: Plaintiff s September 30,2013
Complaint and the attached Exhibit containing eleven separate documents, most of which are
letters signed by Plaintiff and addressed to various "Respondents," including the United States
Secretary of the Treasury; Plaintiff s February 7,2014 Response to the Government's Motion To
Dismiss; and, United States v. Taylor, 196 F.3d 854 (7th Cir. 1999), cert. denied,529 U.S. 1081
(2000).
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District Court for the Southem District of Indiana, Case No. 96-CR-0132-01.2 Comp. I6; see
a/so Compl. 10-1 I (Ex. 1) (10/6/11 Request). The Request seeks verification that all
"obligations" related to his criminal conviction have been "satisfied, reconciled, and completely
settled, including all penal obligations, and sums, fines, fees, costs and supervised release."
Compl. 10 (Ex. 1).

         On November 3,2011, Plaintiff also sent certain "Respondents" a letter "affirm[ing] and
attest[ing that since] no or non-response has been forthcoming" this fact confirmed his "account
record [was] absolutely correct and accurate" and his criminal conviction satisfied. Compl. 11-
13 (Ex. l). On November 28,2011, Plaintiff also sent a Certification Of Non-Response letter to
certain "Respondents" in which he essentially repeated these statements and his right to a
remedy. Compl. 14 (Ex. l).

       On August 3,2012, Plaintiff signed and sent a Form OMB No. 1105-0008, Claim For
Damage-, Injury or Death, to Richard Schott, Office of the Regional Tort Division, Kansas City,
Kansas.' Compl. Ex. 1 at 8. On August 13, 2012, Plaintiff also sent a letter to Mr. Schott
regarding Plaintiff s "Notice Of Tort Claim," in which he names four tortfeasors. Compl. 8 (Ex.
1). None of these individuals appear in the list of "Respondents" in the aforementioned
documents. Compare Compl. 8 (Ex. 1),with Compl. 1G-l 1 (Ex. l).

        On September 25,2012, Plaintiff also signed an "lnvoice" for tort damages in the amount
of$405,388,872 and addressed that Invoice to Mr. Schott. Compl. 7, 17 (Ex. l). The Invoice is
styled "Memorandum of Record, Account/Claims Reference No. RL71 132-3 [TRT-NCR-2012-
056721," and lists Plaintiff as the "Account Creditor," and the four tortfeasors identified in the
August 13, 2012 Notice Of Tort Claim as "Account Debtors." Compl. 7 (Ex. 1). Plaintiff
enclosed a copy of the "Invoice" for Ms. Joyce Zoldak, Associate General Counsel for the
Federal Bureau of Prisons. Compl. 17 (Ex. 1). On November 19,2012, Plaintiff sent a "past
due" letter to Ms. Zoldak. Compl. l8 (Ex. 1).

        On December 7,2012, Plaintiff sent a letter to Brent M. Phipps, Paralegal for the United
States Department ofJustice, Civil Division Tort Branch, providing "notice for claim of certified
true copies of all insurance agreements and/or other bonding information" for all tortfeasors.
Compl. 19 (Ex. 1). On February 11,2013, Plaintiff "assigned" the September 25,2012 Invoice
to "Timothy Geithner, United States Secretary of the Treasury (an authorized agent of the United
States)" as a "setoff'ofthe costs of Plaintiff s prison sentence. Compl. fl 4; Compl. 5 (Ex. l).
On March 29,2013, Plaintiff sent the Secretary of the Treasury a second letter informing him of
the "breach of [his] fiduciary duty" (by not acting on the February 11, 2013 Assignment within

       2 Plaintiff was convicted for conspiracy to distribute cocaine, committing
                                                                                  money
laundering, conspiracy to commit money laundering, and engaging in an unlawful money
transaction in Terre Haute, Indiana. See Taylor, 196 F.3d at 859. Plaintiff also was sentenced to
ten years supervised release and a fine of$25,000. 1d.

       3
           Mt. Schott is identified   as the Regional Counsel   for the Federal Bureau of Prisons in
Kansas City in an Exhibit accompanying the Complaint. Compl. 17 (Ex.         l).
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thirty-one days) and requesting that proceeds ofthe Invoice be retumed to Plaintiff within three
days. Compl. 20 (Ex. l).

        On September 30,2013, Plaintiff filed a Complaint in the United States Cout of Federal
Claims seeking a $405,388,872 payment for the September 25,2012Invoice that was "assigned"
to the United States Department of the Treasury and specific performance of obligations in that
assignment agreement. Compl. fl 15.

        The Complaint also alleges that the September 25, 2012 Invoice is for tort damages owed
to Plaintiff by the Govemment. Compl. tf 15. The basis for the damages apparently stems from
actions of either four or eighteen tortfeasors" who are federal govemment employees; namely,
prison officials overseeing the federal prison that currently houses Plaintiff. Compl. 7-9 (Ex. 1).
In brief, Plaintiff allegedly incurred a personal injury due to these officials "neglecting to give
full faith and credit to the public record filing at the Marion County Recorder's Office"
conceming Plaintiffs obligations under the aforesaid criminal conviction against him in the
Southem District of Indiana, and failing to recognize "evidence that all federal obligations ofthe
United States against [Plaintiff are] satisfied and discharged ofrecord." Compl.9(Ex. 1).

          In addition, the Complaint alleges that, on February 20, 2013, the Secretary of      the
Treasury accepted "unconditionally and tacitly" the assignrnent of that Invoice for setoff against
Plaintiffs "federal obligations." Compl. flfl 4-8. The assignment for setoff will "result in the
discharge of [those] federal obligations owing to [the United States Government] by [the]
Plaintiff'and debts stemming from Plaintiff s federal criminal conviction. Compl. flfl G7.
Because the Department of the Treasury was required by the thirty-one day time period to fulfill
its obligations, but failed to act within that time period, its failure to do so caused Plaintiff
"irreparable harm." Compl. flfl 10*1 I .

          On November 12,2013,  Plaintifffiled a Motion For Stay until the arbitration terms of the
assignment agreement were complete, and a copy of a Request For Admissions. On
December 27, 2013, Plaintiff filed a Notice Of Default and a Motion For Claim To Enforce
Arbitration, asserting that the Govemment's non-response evidenced consent to this court's
subject matter jurisdiction. On January 3,2014, Plaintiff filed a Second Motion To Stay. On
December 2, 2013, the Government filed a Motion For Summary Dismissal.

          On February 7,2014, Plaintiff filed a Response. On February 18,2014, the Govemment
filed   a Reply.

       On March 4,2014, Plaintiff filed a'Notice Of Noncompliance, RCFC 7.2(b)(2) And
Claim To Stdke RCFC 12(fl Defendant's Reolv."


        " Plaintiff lists the same four tortfeasors in his claim against the Government in all ofthe
Complaint Exhibit documents, except for a December 7 , 2012 letter to the United States
Department of Justice including a "Tortfeasor Information Schedule" listing eighteen
individuals, among which were the four "tortfeasors" listed in other documents. Compare
Compl. 7,8, 17-18 (Ex. 1),with Compl. 19 (Ex. l).
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il.       DISCUSSION.

          A.   Jurisdiction.

        The United States Court of Federal Claims has jurisdiction under the Tucker Act "to
render judgment upon any claim against the United States founded either upon the Constitution,
or any Act of Congress or any regulation of an executive departrnent, or upon any express or
implied contract with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort." 28 U.S.C. $ 1a91(a)(l). The Tucker Act, however, is "a jurisdictional statute;
it does not create any substantive right enforceable against the United States for money
damages. . . . [T]he Act merely confers jurisdiction upon [the United States Court of Federal
Claimsl whenever the substantive right exists." United States v. Testan, 424 U.S. 392, 398
(1e76).

        Therefore, to pursue a substantive right under the Tucker Act, a plaintiff must identify
and plead an independent contactual relationship, Constitutional provision, federal statute,
and/or executive agency regulation that provides a substantive right to money damages. ,See
Todd v. United States,386 F.3d 1091, 1094 (Fed. Cir.2004) ("[J]urisdiction under rhe Tucker
Act requires the litigant to identifr a substantive right for money damages against the United
States separate from the Tucker Act . . . ."); see also Fisher v. United States, 402 F.3d 1167,
1172 (Fed. Cir. 2005) (en banc) ("The Tucker Act . . . does not create a substantive cause of
action; . . . a plaintiff must identifu a separate source of substantive law that creates the right to
money damages. . . . [T]hat source must be 'money-mandating."'). Specifically, a plaintiff must
demonstrate that the source of substantive law "can fairly be interpreted as mandating
compensation by the Federal Govemment." United States v. Mitchell,463 U.S. 206,216 (1953)
(quoting Testan, 424 U.S. at 400). The plaintiff also bears the burden of establishing jurisdiction
by a preponderance of the evidence. See Reynolds v. Army & Air Force Exch. Serv.,846 F.2d,
746, 748 (Fed. Cir. 1988) ("[O]nce the [trial] court's subject marter jurisdiction [is] put in
question . . . . [the plaintiff] bears the burden of establishing subject matter jurisdiction by a
preponderance of the evidence.").

        In addition, if the court determines at any point in the proceedings that it lacks subject
matter jurisdiction, the action must be dismissed. See RCFC    l2(h)(3). Jurisdiction is a threshold
matter for the court to decide. PODS, Inc. v. Porta Stor, 1nc.,484 F.3d 1359, 1365 (Fed. Cir.
2007) (citing Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 94-95 (1998) (,,We have an
obligation to assure ourselves ofour jurisdiction before considering the merits[.]")).

          B.   Standard Of Review For Pro Se Litigants.

         The pleadings of a pro se plaintiff are held to a less rigorous standard than those of
litigants represented by counsel. See Haines v. Kerner,404 U.S. 519,520 (1972) (holding that
pro se complaints, "however inartfully pleaded," are held to "less stringent standards than formal
pleadings drafted by lawyers"). It has been the tradition of the United States Court of Federal
claims to examine the record "to see if fa pro sef plaintiff has a cause of action somewhere
displayed." Ruderer v. United States, 412 F.zd 1285, t292 (Ct. Cl. 1969); see also
Ericlrson v. Pardus, 551 u.s. 89, 94 (2007) ("A document filed pro se is to be liberally
construed." (intemal quotation omitted)). Nevertheless, while the court may excuse ambiguities
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in a pro se plaintiff s     complaint, the court "does not excuse       [a complaint's]    failures."
Henke v. Unit ed Stat es, 60 F.3d 795, 7 99 (F ed. Cir. 1 995).

        C.      Standard Of Review For A Motion To Dismiss Pursuant To RCFC n@Xl).

        A challenge to the United States Court ofFederal Claims' "general power to adjudicate in
specific areas of substantive law .          is properly raised by a [Rule] 12(b)(l) motion."
Palmerv.United States, 168 F.3d 1310, 1313 (Fed. Cir. 1999); see aiso RCFC 12(bxl)
(allowing a party to assert, by motion, "lack of subject-matter jurisdiction"). When considering
whether to dismiss an action for lack of subject matter jurisdiction, the court is "obligated to
assume all factual allegations [of the complaint] to be true and to draw all reasonable inferences
in plaintiff s favor;' Henke,60F.3d.at797.

        D.      Standard Of Review For A Motion To Dismiss Pursuant To RCFC f2(bx6).

        A challenge to the United States Court of Federal Claims' "[ability] to exercise its
general power with regard to the facts peculiar to the specific claim . . . . is raised by a [Rule]
 12(bX6) motion[.]" Palmer, 168 F.3d at 1313; see also RCFC 12(bX6) (allowing a parry to
assert, by motion, "failure to state a claim upon which relief can be granted"). When considering
whether to dismiss an action for failure to state a claim, the court must assess whether the
complaint "allege[s] facts 'plausibly suggesting (not merely consistent with)' a show of
entitlement to relief." Bank of Guam v. United States, 578 F.3d 1318, 1326 (Fed. Cir. 2009)
(quoting Bell Atl. Corp. v. Twombt, 550 U.S. 544,557 (2007)); see also Ashcroft v. Iqbal,556
U.S. 662,679 (2009) ("[O]nly a complaint that states a plausible claim for relief survives a
motion to dismiss."). In other words, "[a] claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged." Iqbal, 556 U.S. at 678. In determining factual plausibility, the
court engages in "context-specific analysis" that draws upon "'its judicial experience and
common sense."' Twombly, 550 U.S. at 679.

        As a general matter, the court reviews the facts in a favorable light to the plaintiff. ,See
Bank of Guam,578 F.3d at 1326. Nevertheless, "[flactual allegations must be enough to raise a
right to relief above the speculative level on the assumption that all the allegations in the
complaint are true." Twombly,550 U.S. at 545. But see lqbal,556 U.S. at 678 ('.[T]he tenet that
a court must accept as true all the allegations contained in a complaint is inapplicable to legal
conclusions."). Thereafter, "if it appears beyond doubt that [plaintiff] can prove no set of facts
in support of [its] claim which would entitle [it] to relief" then this court should dismiss the
action. See Davis v. Monroe Cnty Bd. ofEduc.,526 U.S.629,654(1999).

       E.      The Court's Resolution Of The Government's Decemb er 2,2013 Motion For
               Summary Dismissal.

               l.      The United States Court Of Federal Claims Does Not Have Subject
                       Matter Jurisdiction To Adjudicate Tort Claims Or Claims Against
                       Individual Government Offi cials.

       As the complaint evidences, several of the alleged claims sound in tort. The united
states court of Federal claims does not have jurisdiction over these claims. see 28 u.s.c. g
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1a9l(a)(l) (2006) ("The United     States Court of Federal Claims shall have jurisdiction to render
judgment upon any claim against the United States . . . for liquidated or unliquidated damages in
 cases not sounding in tort."); see also Fast Horse v. United States, 101 Fed. Cl. 544,547 (2011)
("[T]ort claims fall outside ofthis [c]ourt's jurisdiction.").

        In addition, other claims are asserted against Govemment officials in their individual
roles. The United States Court of Federal Claims does not have jurisdiction over these claims.
See 28 U.S.C. $ 1491 ("The United States Court of Federal Claims shall have jurisdiction to
render judgment upon any claim against the United States[.]" (emphasis added)); see qlso Fast
Horse,101 Fed. Cl. at 547 ("[T]he Tucker Act grants the [c]ourt jurisdiction over claims against
the 'United States,' not claims against the United States' individual officers." (citing Brown     v.
unitedstates,l05 F.3d 621,624 (Fed. Cir. 1997))).

               2.       The September 30, 2013 Complaint Fails To Allege A Breach Of A
                        Government Contract.

        Plaintiff inconectly assumes that the court has recognized that he has established a claim
upon which relief may be granted by allowing him leave to proceed informa paupens. In doing
so, the court did not recognize that Plaintiff stated a good-faith cognizable claim upon which
relief may be granted, but only that Plaintiff showed good cause for the court to waive filing
fees. Compare RCFC l2(bX6), wtrr 28 U.S.C. g 1915.

        As to the merits, "[a]n implied-in-fact contract with the government requires proof of (1)
mutuality of intent, (2) consideration, (3) an unambiguous offer and acceptance, and (4) actual
authority on the part of the government's representative to bind the govemment in contract."
Kam-Almaz v. United States,682 F.3d 1364, 1368 (Fed. Cir. 2012) (quoting Hanlin v. United
States, S16 F.3d 1325, 1328 (Fed. Cir. 2009)). The party alleging a contract has the burden of
demonstrating these elements. See Harbert/Lummus Agrifuels Projects v. United States, 142
F.3d 1429, 1434 (Fed. Cir. 1998) (determining that a government contractor failed to
demonstrate the elements of a contract to modiff a construction schedule). The Tucker Act
authorizes the court to "render judgment upon . . any express or implied contract with the
United States[.]" 28 U.S.C. $ 1491(a). But "jurisdiction under this provision requires . . . a non-
frivolous allegation of a contract with the [G]ovemment." Engage Learning, Inc. v. Salazar,
660 F.3d 1346, 1353 (Fed. Cir. 2011) (emphasis in original). At a minimum, "there needs to be
something more than a cloud of evidence that could be consistent with a contract to prove a
contract and enforceable contract rights. . . . [T]here must still be a clear indication of intent to
contract and the other requirements for concluding that a contract was formed." D & N Bank v.
United States,33l F.3d 1374. 1377-78 (Fed. Cir. 2003).

        The Complaint does not allege the necessary offer and acceptance because all
communications are from Plaintiff to the Govemment. See ResrerevnNT (SEcoND) oF
CoNTRAcrs $ 22(1) ("The manifestation of mutual assent to an exchange ordinarily takes the
form of an offer or proposal by one party followed by an acceptance by the other party or
parties."). At no point did the Government respond, let alone accept, the alleged terms proposed.
Moreover, an assignment that is signed by only one party is not a bilateral contract and the
Govemment's failure to respond does not create a binding contract. see Harbert/Lummus
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Agrifuels Projects, 142 F.3d at 1433-34 ("In the absence of either actual or constructive
knowledge . . . the [receiving party's] silence cannot be a ratification[.]").

         The Complaint also must allege consideration "in the form of a bargained-for
exchange . . . that the promisee's expectation of performance is reasonable, and not disingenuous
reliance on the words of a non-serious and unwilling promisor." Howell v. United States,5l
Fed. Cl. 516, 521 (2002) (reviewing the definition of "consideration" in the context of indefinite-
quantity contracts regarding maintenance of federal properties). Here, Plaintiff created the
September 25,2012 Invoice, but the Complaint alleges only an agreement by which the alleged
"tortfeasors" were found to owe Plaintiff money. Sending an "Invoice" to the alleged
"tortfeasors" or anyone else, is not consideration for a "setoff." See Applied Cos. v. [Jnited
States,37 Fed,. Cl. 749,760 & n.6 (1997) (determining that "[t]he flaw in plaintiff s argument . .
. is that plaintiff has not established that at the time the government properly exercised its setoff
rights plaintiff had . . . a valid setoff," because "plaintiff has not established at this time a viable
debt for setoff purposes and the govemment has not acknowledged any such debt"), affd, 144
F.3d1470 (Fed. Cir. 1998).

        Plaintiff inconectly assumes that the Complaint properly alleges a valid contract by the
"binding legal effect" of the Govemment's lack of response to his November 12,2013 Request
for Admissions. But, requests for admissions are meant to "establish facts about which there is
no real dispute in order to expedite litigation and save the time and money that would otherwise
be spent on unnecessary discovery and proof of facts at luial." JZ Buckingham Invs. LLC v.
united states,77 Fed. cl. 37,44 (2007). Admissions are limited to facts, application of law to
fact, opinions about either, or the genuine nature of documents. ,See RCFC 36(a\l\AHB). As
such, the Govemment's lack ofresponse to the November 12,2013 Request For Admissions has
no binding legal effect and does not establish the court's jurisdiction over a contract dispute. ,See
Burnside-Ou Aviation Training Ctr. v. Dalton, 107 F.3d 854, 858 (Fed. Cir. 1997) (,,[p]arties
cannot by consent confer subject matter jurisdiction on the [court.]").

        For these reasons, the court does not have jurisdiction to adjudicate the breach of contract
claims in the September 30,2013 Complaint.

                3.     The September 30, 2013 Complaint Does Not Allege A Setoff For An
                       Illegal Exaction

         Plaintiffalso contends that the basis for his claim is founded on "3l uscs [sic] g 3701 et
seq." Pl. Resp. tffl l-10. In accordance with the standard of review for pro se claims, this court
liberally conshues Plaintiffs reliance on this statutory section to include all subchapters under
Chapter 37 of Title 31, and to specifically include reference to the SetoffAct under Section 3728
that allows the Government to withhold paying part of a judgment to satisfu a creditor's debts to
the Govemment. This statute has been applied in prisoner tort cases. See, e.g., United
states v. Cohen, 389 F.2d 689 (5th cir. 1967) (applying the Govemment's right to set off against
monetary damages awarded to a prisoner based on a Federal rort claims Act judgment in his
favor). Here, however, there is no judgment in Plaintifls favor against the united states
regarding his tort allegations. Since there is no financial debt for the Govemment to set off
against Plaintiff s debt obligations stemming from his criminal conviction, section 372g is
inapplicable.
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         Likewise, the Complaint fails to allege an illegal exaction claim. ,See Norman v. United
States,429 F.3d 1081, 1095 (Fed. Cir. 2005) ("To invoke Tucker Act jurisdiction over an illegal
exaction claim, a claimant must demonstrate that the statute or provision causing the exaction
itself provides, either expressly or by 'necessary implication,' that 'the remedy for its violation
entails a retum of money unlawfi.rlly exacted.' (quoting Cyprux Amax Coal Co. v. United States,
20s F.3d 1369,1373 (Fed. Cir. 2000)).

UI.     CONCLUSION,

        For these reasons, the Govemment's December 2, 2013 Motion For Summary Dismissal
is granted. See RCFC 12(bXl), l2(bX6).5 Accordingly, the Clerk of Court is directed to dismiss
the September 30,2013 Complaint.

         In addition to the September 30,2013 Complaint, Plaintiff has filed numerous complaints
in this cor,rrt and others, including one with markedly similar facts involving the Secretary of the
Treasury.6 Based on a review of Plaintiff s claims and correspondence,- the court finds that
PlaintifPs contacts with this cout reflect "indicia of frivolousness and harassment," specifically
in both the "number and content of filings" and their lack of merit. In re Powell,B5l F.Zd 427,
431 (D.C. Cir. 1988); see also Hemphill v. Kimberly-Clark Corp.,374 Fed. App'x 4l (Fed. Cir.
2010) (following the guidelines discussed in In re Powell conceming anti-filing injunctions for
pro se litigants).

        Pursuant to Rule 11(c)(3) of the Rules of the United States Court of Federal Claims,
Plaintiff has thirty (30) days to show cause why the court should not issue an anti-filing
injunction. see also In re Powell,851 F.2d at 433 (suggesting that a "district court should

       s
          Finally, the claims in the Septembe r 30,2013 Complaint are baseless. ,.[A] coun may
dismiss a claim as factually frivolous 'only if the facts alleged are "clearly baseless."
Spencer v. United States, 98 Fed. Cl. 349,356 (2011) (quoting Denton v. Hernandez,504 U.S.
25,32-33 (1992)); see also Moden v. United States,404 F.3d 1335, 134142 (Fed. Cir. 2005)
(interpreting "frivolous" as "insubstantial, implausible, foreclosed by prior decisions, or
otherwise completely devoid of merit as not to involve a federal controversy"); young v. United
states,88 Fed. cl. 283, 291-92 (2009) ("[A] finding of factual frivolousness is appropriate when
the facts alleged rise to the level of the inational or the wholly incredible, whether or not there
are judicially noticeable facts available to contradict them.").

       6
          Plaintiff has initiated several otler pro se actions. See Taylor v. Oliver, No. 13-328,
2013 WL 51'77113 (S.D. Ind. Sept. 13, 2013) (summary dismissal of habeas petition); Taylor v.
U.S. Treasury, No. 13-1047, 2013 WL 5303255 (D.D.C. July 10, 2013) (dismissing for
frivolity); Taylor v. United states, No. 13-112C, 2013 WL 638885 (Fed. Cl. Feb. 19,2013),
reconsideration denied,2013 wL 1094818 (Fed. cl. Mar. 18, 2013) (dismissing plaintiffs
complaint for lack ofjurisdiction and failure to state a claim upon which relief may be granted);
Taylor v. Patton,No.06-169,2007 WL 496663 (E.D. Ky. Feb. 9, 2007) (dismissing habeas
corpus petition, with prejudice); Taylor v. Tinder, No. 06-90 (E.D. Ky. filed June 2, 2006,
dismissed July 24,2006) (dismissing habeas corpus petition, without prejudice).
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consider issuing an order to show cause" before issuing an anti-filing injunction). If Plaintiff
does not do so, the Clerk will be fi.rther directed to accept no other actions or filings by
Ralph W. Taylor, without an Order of the Chief Judge of the United States Court of Federal
Claims. See RCFC Rule 1l(b) (baning the filing of unwananted claims).

       In the interim, the Clerk's Office shall reject any additional complaints from Plaintiff
unless accompanied by the court's requiredfiling fee.


       IT IS SO ORDERED.
